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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION


VINCENT MALFA,                                       }       Case No. 5:16-cv-618-JSM-PRL

PLAINTIFF                                            }

                                                     }

v.                                                   }

                                                     }

STELLAR RECOVERY, INC.,                              }

DEFENDANT                                  }
_________________________________________/


                     NOTICE OF SETTLEMENT AND REQUEST FOR
                      VOLUNTARY DISMISSAL WITH PREJUDICE


       Plaintiff Vincent Malfa, by and through undersigned counsel, hereby informs the court

that the above-captioned matter has been settled and voluntarily requests that the case be

dismissed with prejudice.


       Respectfully submitted this 18th day of July, 2017,


                 By Plaintiff's attorney: /s/ Nicholas Michael Murado
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